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___ RECEIVED ___GOPY |
JOHN DOE
aug 24 2020 Ly |
Email: PBA-Hater@protonmail.com OLERK U 8 DRITRICT COURT ;
DIBTHIGT OF ARIZONA |
| Ye ae DEPUTY |
Pro se
IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF ARIZONA
PHOENIX DIVISION
Arizona Board of Regents, a body Case No.: 2:20-cv-01638-DWL
corporate, for and on behalf of
Arizona State University,
Plaintiff,
VS. JOHN DOE’S ANSWER AND OBJECTION
TO TRO & INJUNCTION

John Doe aka “asu_covid.parties”, an
individual, and Facebook, Inc., a
Delaware corporation,

(JURY TRIAL DEMANDED)
Defendants.

 

 

 

 

A.ADMISSIONS & DENIALS

Defendant admits the allegations in paragraph numbers 25, 26, 29, 35.

Defendant denies the allegations in paragraph numbers 24, 30, 31, 36, 47 — 57,

and 65 — 74.

JOHN DOE’S ANSWER & OBJECTION - |

 
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Defendant lacks sufficient knowledge or information to form a belief about the
truth of paragraph numbers 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, and 37 — 45, 58
— 64,

Defendant admits that ASU regularly maintains an events page on its website to
promote certain events, but denies the remaining allegations in paragraph 21.

Defendant admits that an Instagram account “asu_covid.parties” was created,
but denies the remaining allegations in paragraph 22.

Defendant admits that an Instagram message was posted (as per the screen shot),
but denies the remaining allegations in paragraph 27.

Defendant admits that wearing masks is a total fucking joke / FAKE NEWS and
that mask restrictions do not work (as per Gov. Ducey as evidenced by the July 13,
2020, AZ Republic news story “Photo shows Ducey at party with no masks and no
social distancing; Governor's Office claims 'smear attack”’), but denies the remaining
allegations in paragraph 28.

Defendant admits to having engaged in a series of offensive statements about
ASU, but denies the remaining allegations in paragraph 32 (so suck it!).

Defendant admits that an Instagram message was posted (as per the screen shot),

but denies the remaining allegations in paragraph 33 — 34.!

 

! If you’re too fucking stupid to recognize parody and hyperbole (which is protected by the Ist Amendment),

that’s your fucking problem and maybe you need to hire much better lawyers than the dumbasses at BACAL LAW
GROUP, P.C (which I heard is run by a bunch of drug-addled QAnon loving pedophiles more interested in sucking the

JOHN DOE’S ANSWER & OBJECTION - 2

 

 

 
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B. DEFENSES & AFFIRMATIVE DEFENSES / OBJECTIONS TO TRO
& INJUNCTIVE RELIEF

 

“Speech is powerful. It can stir people to action, move them to tears
of both joy and sorrow, and — as it did here — inflict great pain.

On the facts before us, we cannot react to that pain by punishing
the speaker. As a Nation we have chosen a different course — to
protect even hurtful speech on public issues to ensure that we do not
stifle public debate.”

 

 

 

U.S. Supreme Court Chief Justice John Robert, Snyder v. Phelps, 562 U.S. 443
(2011).

Defendant is not liable to plaintiff because plaintiff and its organization is a
public figure / public official and fails to plead actual malice with regards to any
alleged defamatory statements.

Defendant is not liable to plaintiff because he is engaging in noncommercial
political speech regarding public officials / public entities involved in matters of a
public concern; thus, enjoying the fullest of First Amendment protections.

Defendant is not liable to plaintiff because defendant was entirely engaged in
protected First Amendment activities and the Instagram account in question is clearly a

parody engaged in rude, offensive, and hyperbolic behaviors. Only a fundamentally

 

taxpayers dry with frivolous SLAPP litigation than in doing any actual legal work). The 1 Amendment allows me to be
as offensive as I want to be. So suck it!

JOHN DOE’S ANSWER & OBJECTION - 3

 
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stupid person who is wayyy beyond retarded would ever think that this was a
legitimate ASU account posting legitimate ASU statements and information.

The constitutional principle overarching this case—which plaintiff either fails to
understand or refuses to acknowledge—is that the First Amendment protects speech
intended to cause embarrassment, insult, and outrage. See Boos v. Barry, 485 U.S.
312, 322 (1988) (“[C]itizens must tolerate insulting, and even outrageous, speech in
order to provide adequate breathing space to the freedoms protected by the First
Amendment.”); Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 55 (1988) (noting the
court’s “longstanding refusal” to allow damages because speech may have an adverse
emotional impact.) The First Amendment “may indeed serve its high purpose when it
induces a condition of unrest ... or even stirs people to anger.” Terminello v. City of
Chicago, 337 U.S. 1, 4 (1949).

Defendant is not liable to plaintiff because plaintiff ASU’s President, Michael
Crow, really is a Nazi!

Plaintiff claims that “these false and offensive posts are calculated to injure
ASU’s reputation and the goodwill associated with the famous ASU Marks.” See
Complaint at 936.

But defendant is entitled to hold—and to caustically express—his opinion that

Fuhrer Crow is “a person with extreme racist or authoritarian views,” or “a person who

JOHN DOE’S ANSWER & OBJECTION - 4

 
Case 2:20-cv-01638-DWL Document 13 Filed 08/24/20 Page 5 of 11

seeks to impose his views on others in a very autocratic or inflexible way”—a common

meaning of the word “Nazi” in wide usage:

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NOUN (nazis)

1 historicalA member of the National Socialist German Workers' Party.

The Nazi Party was formed in Munich after World War |. It advocated right-wing authoritarian
nationalist government and developed a racist ideology based on anti-Semitism and a belief in the
superiority of “Aryan” Germans. Its charismatic leader, Adolf Hitler, who was elected Chancellor in
1933, established a totalitarian dictatorship, rearmed Germany in support of expansionist foreign
policies in central Europe, and thus precipitated World War II. The Nazi Party collapsed at the end of
the war and was outlawed in Germany

‘The term is a reference to the fascist counterrevolution, that which the Nazis called
the National Revolution.’

+ More example sentences

1.1 derogatory A person with extreme racist or authoritarian views.

+ More example sentences + Synonyms

1.2. A person who seeks to impose their views on others in a very autocratic or inflexible
/ Way.

‘T learned to be more open and not such a Nazi in the studio’

 

 

 

 

+ More example sentences

Particularly apropos given the facts of the instant case is this:

We cannot curtail a speaker’s First Amendment protection on
the grounds that an otherwise permissible message might touch
a nerve with an easily agitated audience.

Higgins v. Kentucky Sports Radio, LLC, 951 F.3d 728, 738 (6" Cir. 2020), citing
Snyder v. Phelps, 562 U.S. 443, 454 (2011) (picketers’ signs reading “God hates fags”

and Fags doom nations” at a serviceman’s funeral were protected speech.)

For those of you in Rio Linda, the internet is a “vast and often unpleasant

place.” Brintley vy. Aeroquip Credit Union, 936 F.3d 489, 494 (6" Cir 2019).

JOHN DOE’S ANSWER & OBJECTION - 5

 
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Those who step into the public limelight, even temporarily, must face
the hazard that sometimes comes with it. Should they find a
commentator’s discussion of their foray into public life unsavory,
they cannot easily “cry ‘Foul!’”

Higgins, 951 F.3d at 740, [citation omitted].

Fuhrer Crow voluntarily stepped into the limelight. Doing so made him the fair
subject of criticism. Crow can always resign and go back to chicken farming (or
whatever it is that Nazis do when they are not busy plotting a ‘final solution’ while
vacationing at Wannsee).

With regards to the claims involving trademark infringement / false designation
of origin / false advertising / trademark dilution / unfair competition, defendant is not
liable to plaintiff because defendant is engaged in fair use and fair comment, as well as
noncommercial political speech. As the Court knows, in Lenz v. Universal Music
Corp., 801 F.3d 1126 (9th Cir. 2015), the United States Court of Appeals for the Ninth
Circuit has held that copyright holders must consider fair use in good faith before
issuing a takedown notice for content posted on the Internet.

Lenz argued that Universal was issuing takedown notices in bad faith, as they
attempted to remove all Prince-related content rather than considering whether each

posting violated copyright, and in particular was a non-infringing fair use.

JOHN DOE’S ANSWER & OBJECTION - 6

 

 
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Importantly, the court viewed fair use not as a valid excuse to otherwise
infringing conduct but rather as not infringement in the first place.”

It stands to reason that the principals expressed in Lenz would also apply to the
claims made in this case.

Defendant Facebook is not liable to plaintiff due to the immunities provided by
Section 230 of the Communications Decency Act. This law is soooo well settled that
it is incomprehensible that plaintiffs attorney would even bother to try to sue
Facebook for contributory infringement. This claim shows beyond a shadow of a
doubt that Glenn Bacal and Sean Garrison are a couple of thieving morons.

Further, plaintiff has no legal basis or standing for suing Facebook over alleged
violations of its Terms of Service. See, e.g., Mishiyev v. Alphabet, Inc., 2020 WL
1233843 (N.D. Cal. March 13, 2020) (user sues to enforce TOS regarding handling of
DMCA complaints) and Oracle USA, Inc. v. Rimini Street, Inc., 879 F. 3d 948, 961-62

(9" Cir. 2018) (violation of websites’ TOS is not a criminal violation).

 

: Glenn S. Bacal and Sean Garrison are a couple of corrupt and very stupid lawyers who are just trying to scam the

taxpayers of Arizona by grandstanding with this nonsense lawsuit so as to get publicity for themselves and their really
shitty law firm, while at the same time driving up legal fees via this obvious SLAPP litigation. This lawsuit is complete
BULLSHIT (to use a legal term).

JOHN DOE’S ANSWER & OBJECTION - 7

 
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C. IDENTITIES OF ANONYMOUS SPEAKERS IS PROTECTED BY 1°'
AMENDMENT

There can be little doubt that the First Amendment protects against compelled
identification of anonymous speakers. Watchtower Bible and Tract Soc. of New York
v. Village of Stratton, 536 U.S. 150, 166-67 (2002); Buckley v. American
Constitutional Law Foundation, Inc., 525 U.S. 182 (1999).

[A]n author is generally free to decide whether or not to disclose his or her true

identity.... [A]n author’s decision to remain anonymous, like other decisions

concerning omissions or additions to the content of a publication, is an aspect of
the freedom of speech protected by the First Amendment.
McIntyre v. Ohio Elections Comm., 514 U.S. 334, 341-42. (1995). “Under our
Constitution, anonymous pamphleteering is not a pernicious, fraudulent practice, but
an honorable tradition of advocacy and dissent.” /d. at 356. Thus, any attempt by
plaintiff or this court to disclose the identity of the individuals behind this anonymous
Instagram account would irreversibly amputate those authors’ First Amendment rights.

It is also well-settled that anonymous speech on the Internet is afforded the same
protections as anonymous “pamphleteering.” Reno v. ACLU, 521 U.S. 844, 853
(1997); see also ApolloMedia Corp. v. Reno, 19 F. Supp. 1081 (N.D. Cal. 1998)
(protecting anonymous denizens of www.annoy.com, a website “created and designed

to annoy” legislators), aff'd by ApolloMedia Corp. v. Reno, 526 U.S. 1061 (1999).

And since a court order constitutes state action, compelling John Doe’s destruction of

JOHN DOE’S ANSWER & OBJECTION - 8

 

 

 
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anonymity (either her/ his own or someone else’s) is subject to constitutional
limitations. New York Times v. Sullivan, 364 U.S. 254, 265 (1964). Compelled
identification affects the First Amendment right of anonymous speakers to remain
anonymous. Justification for an incursion upon that right requires proof of a
compelling interest. McIntyre, 514 U.S. at 347. And beyond that, the restriction must

also be narrowly tailored to serve that compelling interest. Id.

D. CONDITIONS PRECEDENT
Plaintiff has not performed all conditions precedent that it was required to
perform before filing suit. Defendant denies that plaintiff has complied with proper

trademark registration or made the required notifications.

E. JURY DEMAND

Defendant demands a trial by jury on all of the issues.

F. PRAYER
Plaintiff Arizona Board of Regents / ASU can go fuck itself — seriously. They
are all a bunch of thin-skinned, SLAPP happy morons.
Publicity is justly commended as a remedy for social and industrial diseases.

Sunlight is said to be the best of disinfectants; electric light the most efficient
policeman.

JOHN DOE’S ANSWER & OBJECTION - 9

 

 
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Should the Court desire a hearing on the matter, John Doe asks that it be done in
such a manner so as to preserve her / his anonymity with the understanding that it
would be totally impossible for her / him to physically come to the courthouse to argue
this matter (which would then result in the exposure of the very things she / he wishes
to keep anonymous and would defeat the purposes of this motion and these
fundamental Constitutional protections) (not to mention the fact that she / he is now
prohibited from even entering the courthouse there on account of the fake Chinese
virus).

Documents may be served via email.

Respectfully submitted,

Dated: August 24, 2020 /s/
Jane / John Doe
Pro se

JOHN DOE’S ANSWER & OBJECTION - 10

 

 
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CERTIFICATE OF SERVICE

I certify that on August 24, 2020, a copy of this document was delivered to the
US District Court Clerk’s office by courier, which will automatically serve a Notice of
Electronic Filing on the plaintiff Watch Tower organization.

I certify that plaintiff is a registered CM/ECF user and that service will be

accomplished by the CM/ECF system.

/s/
Jane / John Doe
Pro se

JOHN DOE’S ANSWER & OBJECTION - 11

 

 
